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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

STEARNS BANK, N.A.,                        §
Garnishor                                  §
                                           §
      vs.                                  §    CIVIL ACTION NO. ____________
                                           §
RIO BANK, FALCON BANCSHARES,               §
INC., FIDELITY INVESTMENTS, LONE           §
STAR NATIONAL BANK, IBC BANK               §
A/K/A INTERNATIONAL                        §
BANCSHARES CORPORATION and                 §
TEXAS REGIONAL BANK,                       §
Garnishees                                 §

                          ORDER ON APPLICATION FOR
                    WRIT OF GARNISHMENT AFTER JUDGMENT

       On this the ______ day of ________________, 2021, the application and
evidence of Stearns Bank, N.A. in this cause, for issuance of a writ of garnishment
came for consideration.

       After considering the pleadings and other papers on file with the Court, the Court
finds and concludes that Garnishor is entitled to a writ of garnishment after judgment.
The Court finds that Stearns Bank counter-sued Renryder, LLC, Fred Rene Sandoval
and Armandina Fuentes Sandoval for a debt that is just, due, and unpaid, that
Garnishor obtained a judgment against Renryder, LLC, Fred Rene Sandoval and
Armandina Fuentes Sandoval for such debt as follows:

      1.     The sum of One Million One Hundred Forty-Five Thousand Forty-Four and
             60/100ths ($1,145,044.60) as of April 6, 2021;
      2.     Pre and Post Judgment interest of $173.53 per day from April 6, 2021 until
             paid; and
      3.     Reasonable and necessary attorneys' fees and expenses in the amount of
             $6,000.00 for the prosecution of this case through this judgment.

The Court further finds that such judgment is valid and subsisting, and that Renryder,
LLC, Fred Rene Sandoval and Armandina Fuentes Sandoval do not possess property in
Texas subject to execution sufficient to satisfy the debt or judgment. The Court further
finds that the garnishment is not sought to injure Renryder, LLC, Fred Rene Sandoval,
Armandina Fuentes Sandoval or the Garnishees.

     IT IS, THEREFORE, ORDERED that the clerk issue a writ of garnishment that
commands RIO BANK, FALCON BANCSHARES, INC., FIDELITY INVESTMENTS,
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LONE STAR NATIONAL BANK, IBC BANK A/K/A INTERNATIONAL BANCSHARES
CORPORATION and TEXAS REGIONAL BANK, as Garnishees, to appear as required
by law and answer on oath what, if anything, the Garnishees are indebted to Renryder,
LLC, Fred Rene Sandoval and/or Armandina Fuentes Sandoval, and were when the writ
was served and what effects, if any, of Renryder, LLC, Fred Rene Sandoval and/or
Armandina Fuentes Sandoval the Garnishees possess and did possess when this writ
was served, and what other persons, if any, within the garnishees’ knowledge are
indebted to or have effects belonging to Renryder, LLC, Fred Rene Sandoval and/or
Armandina Fuentes Sandoval.

       IT IS, THEREFORE, ORDERED that the clerk issue a writ of garnishment that
commands RIO BANK, FALCON BANCSHARES, INC., FIDELITY INVESTMENTS,
LONE STAR NATIONAL BANK, IBC BANK A/K/A INTERNATIONAL BANCSHARES
CORPORATION and TEXAS REGIONAL BANK, as Garnishees, to appear as required
by law and answer on oath what, if anything, the garnishees are indebted to Renryder,
LLC, Fred Rene Sandoval and/or Armandina Fuentes Sandoval and were when the writ
was served and what effects, if any, of Renryder, LLC, Fred Rene Sandoval and/or
Armandina Fuentes Sandoval the Garnishees possess and did possess when this writ
was served, and what other persons, if any, within the Garnishees’ knowledge are
indebted to or have effects belonging to Renryder, LLC, Fred Rene Sandoval and/or
Armandina Fuentes Sandoval.

        IT IS FURTHER ORDERED that the maximum value of property or indebtedness
that may be garnished is $1,145,044.60 as of April 6, 2021, with pre and post Judgment
interest of $173.53 per day from April 6, 2021 until paid, plus $6,000.00 in attorneys’
fees and expenses. Further, the writ shall command the Garnishees NOT to pay
Renryder, LLC, Fred Rene Sandoval and/or Armandina Fuentes Sandoval any debt or
to deliver any effects, pending further order of this Court, without retaining property of
Renryder, LLC, Fred Rene Sandoval and/or Armandina Fuentes Sandoval in an amount
sufficient to satisfy and equal the maximum value of property or indebtedness that may
be garnished as above ordered.

        SIGNED this _____ day of ____________________________________, 2021.



                                                              ___________________________
                                                              US DISTRICT JUDGE




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